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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                          DOC #: __________________
                                                                   DATE FILED: 12/30/2020

               -against-
                                                                         20 Cr. 78-7 (AT)
NASIR VINCENT,
                                                                             ORDER
                               Defendant.
ANALISA TORRES, District Judge:

        The Court shall hold a telephonic bail reconsideration hearing on January 6, 2021, at 9:00
a.m. See In re Coronavirus/Covid-19 Pandemic, 20 Misc. 176, ECF No. 4 (S.D.N.Y. Dec. 18, 2020)
(authorizing the use of video teleconferencing, or telephone conferencing if video teleconferencing is
“not reasonably available” in detention hearings under 18 U.S.C. § 3142 with consent of the
defendant). The parties, co-counsel, members of the press, and the public may access the audio feed
of the conference by calling (888) 398-2342 or (215) 861-0674, at the time of the hearing, and
entering access code 5598827.

       SO ORDERED.

Dated: December 30, 2020
       New York, New York
